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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    BOY SCOUTS OF AMERICA AND                                Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC 1
                                                             (Jointly Administered)
                             Debtors
                                                             Re: D.I. 1420




             CENTURY’S OPPOSITION TO MOTION OF TIM KOSNOFF, ESQUIRE
             FOR PROTECTIVE ORDER AND TO QUASH NOTICE OF DEPOSITION




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                                                        of North America, Ace Insurance Group,
                                                        Westchester Fire Insurance Company and
                                                        Westchester Surplus Lines Insurance
                                                        Company




1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300) and Delaware Boy Scouts, LLC
      (4311). The Debtors’ mailing address is 1325 West Walnut Lane, Irving, Texas 75038.
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                                 PRELIMINARY STATEMENT

        The thrust of Tim Kosnoff’s motion to quash is that he is litigation counsel opposite to

Century in this bankruptcy and that his examination is thus impermissible. This is wrong both

on the facts and the law. Mr. Kosnoff is not opposing trial counsel—or even opposing counsel in

the bankruptcy. Nor is it the law that a witness may be excused from a deposition simply

because he or she is an attorney. This is especially so where Rule 2019 is concerned, and

where—as here—the known facts implicate the fairness and integrity of the entire bankruptcy

process. The Barron & Budd court firmly rejected the same overreaching arguments about Rule

2019 that Mr. Kosnoff and his Coalition raise here and relied upon deposition testimony of

lawyers (indeed, on the same of lawyers who is a Coalition member here in its decision).

                                           ARGUMENT

I.      NOT ONLY DOES RULE 2019 SUPPORT DEPOSING AN ATTORNEY,
        IT DEMANDS IT UNDER THE CIRCUMSTANCES HERE.

        In Barron & Budd, the district affirmed a bankruptcy court decision overruling a very

similar challenge to discovery of a loose consortium of plaintiffs’ attorney in connection with a

mass-tort bankruptcy. The court there held that “fee sharing, co–counsel and referral

relationships (and the potential conflicts of interest that may arise therefrom) are indeed pertinent

facts and circumstances in connection with the employment of the entity.” 2 Such disclosures go

to questions of good faith and professional responsibility, which are highly pertinent in a

reorganization such as this one. 3 In holding that it was improper to shield the lawyers from

discovery, the court cited deposition testimony from a lead lawyer at Motley Rice (a firm that is

now a member of the Coalition) in explaining the potential that inter-law firm arrangements



2
     Baron & Budd, P.C. v. Unsecured Asbestos Claimants, 321 B.R. 147, 167 (D.N.J. 2005).
3
     321 B.R. at 168.


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“suggest the opportunity for abuse of fee sharing relationships” that were “inextricable from the

overall fairness of the reorganization plan.” 4

        These considerations are especially pressing in light of Mr. Kosnoff’s email admitting

that he intends to manipulate the bankruptcy process: “[h]ere is the message: We control 80% of

the claims i.e. our coalition controls the case,” and that his group is “not going to do anything to

help grease the gears for [Jim] Stang and the dimwits [the abuse survivor members of the

committee] including speeding up the insurance analysis.” 5 Instead, he goes on, the group will

“relax, keep focused on our marketing and media efforts going full tilt in to Nov, chill and enjoy

our summer and evaluate in the fall.” 6 Mr. Kosnoff concludes that stunning statement by

declaring that “[n]othing happens until AIS says so.” 7

        Similarly, in Barron & Budd, the lawyers resisting disclosure who purported “to ‘speak

for’ over 75 percent of all asbestos claimants against [debtor], may not in fact ‘represent’

individual claimants in the traditional sense of an attorney-client relationship, but rather, they

represent other attorneys who, in turn, represent individual claimants.” 8 That claim of speaking

for but not actually representing the bulk of the underlying tort claimants is strikingly close to the

facts here. And that is what raised eyebrows for both the bankruptcy and district courts. At the

very least, the facts known to date warrant further investigation because of the opportunity for

abuse—and the stated intent to commit such misconduct.

        This is exactly when Rule 2019’s “disclosure provisions” should be used to “ensure that

lawyers involved in the Chapter 11 reorganization process adhere to certain ethical standards and


4
    321 B.R. at 160, n.3.
5
    D.I. 1285-1.
6
    Id.
7
    Id.
8
    321 B.R. at 160.


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approach all reorganization related matters openly and subject to the scrutiny of the court.” 9

Future Supreme Court Justice William O. Douglas, then heading an SEC commission,

recognized the danger some seventy years ago that “the inside group” would use a committee to

“secure a dominant position in the reorganization” and capture “the emoluments of control.” 10

Where the “non-disclosure” of Rule 2019 information affects the solicitation and voting

methods, Justice Douglas cautioned that it “must be controlled, so that [stakeholders] may be

assured of an honest and complete portrayal of all material facts.” 11

         The Barron & Budd court also firmly rejected the same overreaching privilege arguments

that Mr. Kosnoff raises: “Not only are there strong policy and statutory reasons why the fee

arrangements between attorneys practicing before the bankruptcy courts cannot be privileged,

there is ample evidence in this particular case, that suggests these facts are relevant, and indeed,

critical.” 12 In any event, courts do not favor preemptively shutting down depositions because of

hypothetical privilege concerns and instead address privilege on a question-by-question basis. 13


9
     321 B.R. at 166.
10
     Securities and Exchange Commission, Report on the Study and Investigation of the Work, Activities,
     Personnel and Functions of Protective and Reorganization Committees, Part I: Strategy and
     Techniques of Protective and Reorganization Committees (1937) (“Douglas Report”) at 876-7, 898;
     see also Leiman v. Guttman, 336 U.S. 1, 6-7 (1949).
11
     Douglas Report at 898.
12
     321 B.R. at 169 (emphasis added).
13
     Nat’l Life Ins. Co. v. Hartford Acc. & Indem. Co., 615 F.2d 595, 598 (3d Cir. 1980) (privilege may
     only be asserted question-by-question, and blanket privilege may not be asserted before hearing those
     questions); Robocast, Inc. v. Microsoft Corp., 2013 WL 1498666, **1–2 (D. Del. 2013) (denying
     motion to quash deposition subpoena of prosecution counsel, rejecting the counsel’s blanket assertion
     of privilege and instructing that privilege objections could be made on a question-by-question bases at
     the deposition); In re Commonwealth Financial Corp., 288 F.Supp. 786 (E.D.Pa.1968), aff’d, 408
     F.2d 640 (3d Cir. 1969) (affirming district court in holding that a witness in a bankruptcy proceeding
     could not assert a blanket fifth amendment privilege prior to hearing the questions); In re Grand Jury
     Matters, 751 F.2d 13, 17 (1st Cir. 1984) (“It is well established that blanket assertions of privilege ...
     are extremely disfavored, and that persons claiming a privilege must establish the elements of
     privilege as to each record sought and each question asked so that ... the court can rule with
     specificity.”) (internal citations and quotations omitted) (citing In re Grand Jury Witness (Salas), 695
     F.2d 359, 362 (9th Cir.1982), Matter of Walsh, 623 F.2d 489, 493 (7th Cir.), cert. denied, 449 U.S.


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II.       THE CASES MR. KOSNOFF CITES ACTUALLY
          SUPPORT TAKING HIS DEPOSITION.

          Mr. Kosnoff’s own cases support his deposition because he is the focus of the Coalition’s

amended 2019 disclosures and his own conduct is at issue. Specifically, the court in Johnston

Development Group, Inc. v. Carpenters Local Union No. 1578, which Mr. Kosnoff discusses in

his brief, compelled a deposition of opposing counsel, reasoning as follows: “where the

attorney’s conduct itself is the basis of a claim or defense, there is little doubt that the attorney

may be examined as any other witness.” 14 That holding is not an outlier in this circuit, where

courts have required testimony from attorneys whose conduct is at issue—as is the case here. 15

          Mr. Kosnoff also relies on an irrelevant heightened standard (the Shelton factors 16) that

applies only to depositions of trial counsel representing a party to the litigation concerning the

conduct of that action. 17 Cases around the country hold that the Shelton factors apply only in




      994, 101 S.Ct. 531, 66 L.Ed.2d 291 (1980), Matter of Witnesses Before Special March 1980 Grand
      Jury, 729 F.2d 489, 495 (7th Cir.1984)).
14
      130 F.R.D. 348, 352 (D.N.J. 1990).
15
      See Jamison v. Miracle Mile Rambler, Inc., 536 F.2d 560 (3d Cir.1976); Kalmanovitz v. G. Heileman
      Brewing Co., Inc., 610 F.Supp. 1319 (D. Del.), aff’d, 769 F.2d 152 (3d Cir. 1985); Scovill
      Manufacturing Co. v. Sunbeam, 61 F.R.D. 598 (D. Del.1973).
16
      While Mr. Kosnoff’s Motion does not cite Shelton directly, Mr. Kosnoff’s precedents rely on Shelton
      and its progeny.
17
      See Chase Manhattan Bank, N.A. v. T & NPLC, 156 F.R.D. 82, 84 (S.D.N.Y. 1994) (distinguishing
      between counsel in litigation and “non-trial counsel” for purposes of Shelton criteria); Nakash v.
      United States Dept. of Justice, 128 F.R.D. 32, 34–35 (S.D.N.Y. 1989) (refusing to quash deposition
      subpoena because attorneys were fact witnesses, and stating their attempt to bring themselves within
      the “strict standards of cases such as Shelton” was not persuasive because they were not “opposing
      counsel”).


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rare circumstances inapplicable here. 18 Here, Mr. Kosnoff is not opposing counsel in litigation

against Century, has not entered an appearance, and is represented by separate counsel. On the

contrary, Mr. Kosnoff is the subject of the Rule 2019 disclosure about which Century wishes to

inquire. But even applying the heightened standard, courts in the Third Circuit regularly permit

depositions of opposing counsel—over privilege objections—where there are claims of




18
     See Bogan v. Northwestern Mutual Life Ins. Co., 152 F.R.D. 9, 14–15 (S.D.N.Y. 1993) (stating
     Shelton “does not bar such depositions where attorneys take part in significant relevant pre-events
     and the attorney-client privilege does not apply to the testimony sought”); Sadowski v. Gudmundsson,
     206 F.R.D. 25, 27 (D.D.C. 2002) (holding trial counsel may be deposed, and stating “[w]here an
     attorney for a party has information concerning the underlying events supporting the suit, the attorney
     cannot shield relevant facts merely because he was an attorney for that party”); Amicus
     Communications, L.P. v. Hewlett-Packard Co., No. 99 Civ. 0284, 1999 WL 33117227, at *2 (D.D.C.
     Dec. 3, 1999) (finding party may depose opposing counsel, even trial counsel, where attorney played
     role in underlying facts, reasoning that “[w]hen a party employs counsel to represent it in a case
     where an attorney has played a role in the underlying facts, both the attorney and the party have every
     reason to expect that the attorney's deposition may be requested”); United Phosphorus, Ltd. v.
     Midland Fumigant, Inc., 164 F.R.D. 245, 249 (D. Kan. 1995) (finding Shelton test inapplicable and
     holding trial counsel could be deposed regarding relevant underlying facts of which he had personal
     knowledge).


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inequitable conduct and where, as here, evidence shows that Mr. Kosnoff intends to supplant the

TCC’s fiduciary obligations. 19

                                            CONCLUSION

         For all of the above reasons, the Court should deny Mr. Kosnoff’s motion to quash and

order him to sit for his deposition, as Rule 2019 and case law require.

Dated: October 9, 2020                                  Respectfully Submitted,

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                                                        America and Indemnity Insurance Company of
                                                        North America, Ace Insurance Group Westchester
                                                        Fire Insurance Company and Westchester
                                                        Surplus Lines Insurance Company



19
     Robocast, Inc. v. Microsoft Corp., 2013 WL 1498666, **1–2 (D. Del. 2013) (denying motion to
     quash deposition subpoena of prosecution counsel, rejecting the counsel’s blanket assertion of
     privilege and instructing that privilege objections could be made on a question-by-question bases at
     the deposition); V. Mane Fils, S.A. v. International Flavors and Fragrances Inc., 2008 WL 3887621,
     **3–4 (D.N.J. 2008) (denying motion to quash subpoena served on the prosecuting lawyer); LG
     Philips LCD Co., Ltd. v. Tatung Co., 2007 WL 2908177 (D. Del. 2007) (granting accused infringer’s
     motion to compel deposition of the attorney who prosecuted claims).


                                                    6
